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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

UNITED STATES OF AMERICA,


v.                                         CASE NO. 8:15-CR-372-T-17AEP

SERGIO MARTINEZ HERNANDEZ,
MANUEL PEREZ RUIS, AND
RUDI RENE MENDEZ.

___________________________/


                                          ORDER


       This cause is before the Court sua sponte. This cause is set for trial on Monday,
November 7, 2016. The Court directs the Government and Defendants Hernandez,
Ruis and Mendez to confer as to proposed jury instructions and proposed verdict forms,
and file the following by Wednesday, November 2, 2016: 1) a package of jury
instructions to which the Government and each Defendant stipulate; 2) a separate
package of the Government’s proposed jury instructions to which each Defendant
objects, if any; and 3) a separate package of each Defendant’s proposed jury
instructions to which the Government objects, if any. If the parties agree on the verdict
form, the parties shall file one proposed verdict form. If the parties cannot agree, each
party shall file a proposed verdict form. Accordingly, it is


       ORDERED that the parties shall file their proposed jury instructions and verdict
form in accordance with this Order by Wednesday, November 2, 2016.
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      DONE and ORDERED in Chambers in Tampa, Florida on this 7th day of
September, 2016.




Copies to:
All parties and counsel of record




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